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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:                                 :
                                       : Case No.: 18-14703
Sean N. Sinclair                       : Chapter 13
Claire S. Sinclair                     : Judge Ashely M. Chan
                                       : ******************
                             Debtor(s)
                                       :
MidFirst Bank                          : Date and Time of Hearing
                              Movant, : Place of Hearing
       vs                              : April 21, 2020 at 09:30 a.m.
                                       :
Sean N. Sinclair                       : U.S. Bankruptcy Court
Claire S. Sinclair                     : 900 Market Street, Suite 400, Courtroom #4
Kenneth E. West                        : Philadelphia, PA, 19107
                                       :
                          Respondents.

                                     ORDER OF COURT

        AND NOW, this 24th day of April                   , 2023, upon consideration of the
Certification of Default filed by MidFirst Bank ("Creditor"), it is hereby ORDERED, that the
Automatic Stay be and hereby is terminated as it affects the interest of Creditor in and to the
property located at 3307 Sheldon Avenue, Bristol, PA 19007 and more particularly described in
the Mortgage, recorded October 28, 2014, at Instrument Number 2014059627.

        Compliance with Federal Rule of Bankruptcy Procedure 3002.l is waived as to Creditor
in the instant bankruptcy case upon entry of this Order granting relief from the automatic stay of
Section 362.

                                                 BY THE COURT



                                                 ASHELY M. CHAN, JUDGE
                                                 UNITED STATES BANKRUPTCY COURT

CC:
  Adam B. Hall, Attorney for Creditor, Manley Deas Kochalski LLC, P.O. Box 165028,
  Columbus, OH 43216-5028 (notified by ecf)

   Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov (notified by ecf)




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  Kenneth E. West, Chapter 13 Trustee, 1234 Market Street - Suite 1813, Philadelphia, PA
  19107, ecfemails@ph13trustee.com (notified by ecf)

  Paul H. Young, Attorney for Debtor, 3554 Hulmeville Rd., Ste 102, Bensalem, PA 19020,
  support@ymalaw.com (notified by ecf)

  Sean N. Sinclair and Claire S. Sinclair, Debtor, 3307 Sheldon Avenue, Bristol, PA 19007
  (notified by regular US Mail)




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